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    ‘I thought I was going to lose my life’: Capitol Police officers share
    their harrowing January 6 stories for the first time
    By Whitney Wild and Jeremy Herb, CNN
    Updated 8:36 AM EDT, Fri June 4, 2021




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    Watch these exclusive interviews on CNN’s “The Lead with Jake Tapper” at 5 P.M. ET

    Washington (CNN) — US Capitol Police Sgt. Aquilino Gonell was beaten with a flagpole. His
    hand was sliced open. He was hit with so much chemical spray that the liquid soaked
    through to his skin. During intense hand-to-hand combat with rioters on the west front of
    the US Capitol on January 6, there were moments where Gonell thought he might die.

    “They called us traitors. They beat us. They dragged us,” Gonell told CNN, in his first
    interview about the violence he experienced and witnessed on January 6. “And I could
    hear them, ‘We’re going to shoot you. We’re going to kill you. You’re choosing your
    paycheck over the country. You’re a disgrace. You’re a traitor.’”

    Several hundred feet away that same day, US Capitol Police Officer Byron Evans was inside
    the locked Senate chamber with 100 senators and Vice President Mike Pence, hand on his
    weapon and mentally preparing for a life-or-death situation to come through the doors.

    “I remember thinking, all that stuff like, Byron, this is the day. All those times you’ve given
    thought on what you would do, you’re doing it. This is the day,” Evans said.

    “This could be the day that I may have to use deadly force,” he said. “I had already heard
    of shots fired over the radio.”

    Gonell and Evans are just two of the thousands of US Capitol Police officers, Metropolitan
    Police officers, National Guard troops and federal agents who battled violent rioters,
    protected lawmakers at the Capitol and rushed in to try to stop the deadly riot that
    unfolded at the heart of American democracy. The two officers publicly shared their
    experiences on January 6 for the first time with CNN, offering a window into how the law
    enforcement officers at the Capitol that day are still struggling to make sense of what
    happened, and grappling with guilt that more wasn’t done to stop it.

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    CNN spoke to Evans in an interview arranged by US Capitol Police after CNN had
    requested to speak to officers who had been on the ground January 6. Gonell spoke to
    CNN in his personal capacity and did not represent the department.

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    The repercussions of the January 6 insurrection continue to ripple across Washington, as
    congressional Democrats and Republicans bitterly battle over what more should be done
    to investigate the circumstances leading up to the insurrection and the security failures
    that day. Republicans blocked the formation of an independent commission last week. For
    many Capitol Police officers, the attempts by some Republicans to whitewash the January
    6 attack have stung, exposing a fractured relationship between the officers and the
    lawmakers they protect.

    Especially after the mother and girlfriend of fallen Capitol Police Officer Brian Sicknick
    embarked on a last-minute lobbying campaign to try to convince GOP senators to support
    the commission, many officers were left deeply disappointed after the bill failed to pass.


    ‘Fighting inch by inch’
    For Gonell, the wounds of January 6 are all too apparent.

    His shooting hand was sliced open during the attack, making pulling the trigger of his gun
    a challenge. His shoulders still have contusions. He tried to walk off an injury to his right
    foot, but two weeks after the attack, he said, he finally sought medical help because he
    couldn’t walk anymore. As a result, Gonell needed bone fusion surgery so he could walk
    without the pain returning.

    Gonell said the FBI has asked him to view video of the attack to help identify the rioters.
    It’s still difficult for him to watch footage of the events of January 6, he said, having to
    relive the battles that he fought while he was under assault.




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    Officer Gonell




    Gonell immigrated to the US from the Dominican Republic when he was 12, eventually
    joining the Army Reserve and deploying to Iraq in 2003. He joined the Capitol Police force
    in 2008. As a leader of the department’s Civil Disturbance Unit, he was one of a fraction of
    officers in riot gear on January 6 and fought on the front lines against rioters he says
    attacked at the direction of then-President Donald Trump.

    “When we were in the Lower West Terrace and throughout the whole ordeal I had people
    calling me immigrant, you’re not American, you are a traitor,” Gonell said. “I went overseas
    to protect our homeland from foreign threats, but yet here I am battling them in our own
    Capitol.”

    He still has a vivid memory of the battle he faced: of the pepper spray that forced him and
    other officers from the front line, of the American flag poles, rocks and even guardrails
    pried from the inaugural stage that were used to attack officers, and of the struggle to
    keep the flood of insurrectionists from forcing their way into the door he was guarding.

    “I bled, I sweat and I fought to prevent those people coming in through that entrance,”
    Gonell said. “We got pushed back all the way to magnetometer by the second door. And
    just to regain that space took us about another hour. We literally were fighting inch by
    inch. And to move one step, that was a 10-minute, 15-minute ordeal.”

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    In one particularly harrowing incident, Gonell said he pulled an officer who had fallen to
    the ground back away from the rioters. Then the mob grabbed onto him. For the next five
    minutes, Gonnell said, he was in a fight for his life as rioters grabbed onto anything they
    could, pulling on his riot shield, his shoulder straps and his uniform.

    “It was very scary, because I thought I was going to lose my life,” Gonell said. “Then I
    started getting beat up with a flagpole, with a flag, the American flag that I swore to
    defend here and overseas. And I don’t know how I got this strength, but I hit that person
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    so hard that they let me go. I started backpedaling.”


    ‘Y’all, they are in the building’
    Evans has served as a Capitol Police officer for 16 years, working primarily in and around
    the Senate chamber.

    He was on a scheduled break on January 6 when he first heard on the police radio the
    danger that officers were suddenly facing as rioters broke through the police line.

    “You could just hear the tone in officers’ voices that were coming across the radio,” Evans
    said, explaining that he had raced back to the Senate and locked down the Capitol door at
    his post near the chamber.

    Soon he was approached by Eugene Goodman, the Capitol Police officer who minutes
    later would heroically lead the insurrectionists up a flight of stairs and away from the
    Senate chamber doors.




                                                                                                                                                     CNN

    Officer Evans




    “I went to my sergeant and told him I think we need to lock down the chamber,” Evans
    explained. “And as I’m having that conversation with him, another officer comes up,
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    Eugene Goodman, and he tells us, ‘Y’all, they are in the building.’ “

    When the Senate chamber was locked down, Evans was inside bracing for the worst. He
    was nearby when Sen. Mike Lee, a Utah Republican, was on the phone with Trump – a
    conversation that would later become a heated part of Trump’s Senate impeachment trial.

    Evans aided in the evacuation of the 100 senators and Pence. Once the senators were
    safely in lockdown, Evans said, televisions were wheeled into the room and they all got
    their first glimpse of what was unfolding.

    “I just remember the anger I felt when I saw those images, busting windows, climbing the
    walls and stuff like that. It was an audible gasp in the room, seeing those images,” he said.

    The images of insurrectionists on the Senate floor where he had been just minutes earlier
    were the most jarring.

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    “You just feel a personal connection to something that you protect every single day, and
    then to see the, on the floor, just doing whatever they wanted to do, doing things that no
    one is allowed to do, so, so cavalier – it definitely made you angry,” Evans said. “To see
    them up there, like it was some fun house, that will always stick in my mind.”


    ‘I just started crying’
    Gonell said he had been fighting for roughly five hours before he was able to get a break
    and contact his family.

    “I started texting my wife and I just said, ‘I’m OK. See you whenever,’ ” he said, explaining
    that he meant he had no idea when he would be back home.

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    Gonell finally returned home at 3 a.m., but he couldn’t hug his wife yet. “When I came in,
    she wanted to hug me, and I told her no, because I was covered in pepper spray and I
    didn’t want to get that on her. I was injured. My hands were bleeding still.”
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    After showering – which Gonell said was painful because the chemical spray had soaked
    through to his skin – he finally hugged his wife. He started crying, he said, out of relief but
    also because he was fighting feelings of guilt that he couldn’t do more.

    “Everything that happened,” Gonell explained. “I didn’t think I would be able to see them. I
    went to my son’s bed and gave him a hug. He was asleep still. Gave him a kiss. And I just
    started crying, for like five, 10 minutes. I just cried. She kept telling me it was going to be
    OK. I’m like, ‘No, I’ve got to go back to work. I’ve got to go back to work.’ I felt guilty. I still
    do.”

    Evans said that Capitol Police officers have gotten closer in the weeks after the attack as
    they’ve sought out some kind of return to normalcy at the Capitol. He said he had to stop
    watching videos showing what happened on January 6 because he would get too angry
    about it.

    “That’s the feeling that I’ll never shake,” he said.

    Both Evans and Gonell say they’ve struggled with the aftermath of the riots. Gonell said he
    was moved to speak out publicly after Republicans opposed a commission to investigate
    what happened to officers and some GOP lawmakers downplayed the attack itself, even
    comparing the rioters to normal tourists.

    “What kind of tour have you been on that you get beat up? What kind of tour? I’m still
    recovering from my hugs and kisses that day. My shoulder hurts, my mental, physical – it’s
    been straining,” Gonell said.

    “I got hurt protecting them. And I would do it again if I have to. It’s my job,” he added. “It’s
    inconceivable that they don’t even want to find out how to prevent this in the future.”

    CLARIFICATION: This story has been updated to clarify how the two officers have
    struggled since the riot and that it was Gonell specifically who was motivated to speak out
    after Republicans opposed a commission.




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